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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WILDCAT CAPITAL ENTERPRISES, LLC,                )
assignee and successor in interest to            )
PNC Equipment Finance, LLC,                      )
                                                 )
                    Plaintiff,                   )           Case No. 11-CV-04922
                                                 )
       v.                                        )
                                                 )
GERALD H. WEBER JR., RONALD E.                   )
SWENSON, RUBLOFF DEVELOPMENT                     )
GROUP, INC., et al.                              )
                                                 )
                    Defendants.                  )

    SANDOR JACOBSON’S (AS RECEIVER) RULE 24 MOTION TO INTERVENE

       Sandor Mark Jacobson, not individually, but solely as the court appointed receiver of

3055 183rd Street, Homewood, Illinois 60430 (the “Receiver”), by and through his counsel,

pursuant to Rule 24(a)(2) of the Federal Rules of Civil Procedure, moves (the “Motion”) this

Court for an order allowing the Receiver to intervene in this action. In support of the Motion, the

Receiver relies on his Memorandum of Law (the “Memorandum of Law”) filed concurrently

herewith, and also states as follows:

       1.      Rule 24(a)(2) of the Federal Rules of Civil Procedure requires that this Court

permit anyone who meets the requirements of the Rule to intervene. The Seventh Circuit holds

that interveners under this Rule must satisfy four requirements:

            a. The intervener must timely move to intervene;

            b. The intervener “must claim an interest relating to the property or transaction
               which is the subject of the action”;

            c. The intervener “must be so situated that the disposition of the action may as a
               practical matter impair or impede the applicant’s ability to protect that interest”;
               and
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           d. “[E]xisting parties must not be adequate representatives of the [intervener]’s
              interest.”

Heartwood, Inc. v. U.S. Forest Serv., Inc., 316 F.3d 694, 700 (7th Cir. 2003) (quoting Sokaogon

Chippewa Community v. Babbitt, 214 F.3d 941, 945-46 (7th Cir. 2000)). As set forth in the

Memorandum of Law, the Receiver can easily satisfy all four prongs.

       WHEREFORE, for these reasons and the reasons set forth in his Memorandum of Law

filed in support of this Motion, the Receiver respectfully requests that this Court enter an order as

follows: (i) granting this Motion; (ii) permitting the Receiver to intervene in this action pursuant

to Rule 24; and (iii) granting such further relief as this Court deems equitable and just.

Dated: October 30, 2015



                                                      SANDOR MARK JACOBSON,
                                                      NOT INDIVIDUALLY, BUT
                                                      SOLELY AS THE COURT
                                                      APPOINTED RECEIVER


                                                      By:/s/ Ryan T. Schultz ________
                                                            One of His Attorneys
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